

Matter of Holup (2020 NY Slip Op 07014)





Matter of Holup


2020 NY Slip Op 07014


Decided on November 25, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 25, 2020

PM-156-20

[*1]In the Matter of Robert Nicholas Holup, an Attorney. (Attorney Registration No. 5587480.)

Calendar Date: November 23, 2020

Before: Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ.


Robert Nicholas Holup, Maplewood, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Robert Nicholas Holup was admitted to practice by this Court in 2018 and lists a business address in Newark, New Jersey with the Office of Court Administration. Holup now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Holup's application.
Upon reading Holup's affidavit sworn to August 8, 2020 and filed August 25, 2020, and upon reading the November 9, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Holup is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Colangelo, JJ., concur.
ORDERED that Robert Nicholas Holup's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Robert Nicholas Holup's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Robert Nicholas Holup is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Holup is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Robert Nicholas Holup shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.	








